        Case 1:10-cr-00287-AWI Document 155 Filed 02/21/13 Page 1 of 3


     ANTHONY P. CAPOZZI, CSBN: 068525
 1   NICHOLAS A. CAPOZZI, CSBN: 275568
     LAW OFFICES OF ANTHONY P. CAPOZZI
 2   1233 W. Shaw Avenue, Suite 102
     Fresno, California 93711
 3   Telephone: (559) 221-0200
     Facsimile: (559) 221-7997
 4   E-mail: capozzilaw@aol.com
 5   Attorney for Defendant,
     FERNANDO AVILA
 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                  EASTERN DISTRICT OF CALIFORNIA, FRESNO
 9

10   UNITED STATES OF AMERICA,           ) Case No.: 1:10-CR-00287-AWI
                                         )
11             Plaintiff,                )
                                         ) Request to File Under Seal
12       vs.                             ) Character Letters and Attach
                                         ) to Presentence Report.
13                                       )
     FERNANDO AVILA,                     )
14                                       )
               Defendant.                )
15

16        TO THE ABOVE ENTITLED COURT AND THE ASSISTANT UNITED
     STATES ATTORNEY FOR THE EASTERN DISTRICT OF CALIFORNIA:
17
         Defendant, Fernando Avila, by and through his attorney
18
     Anthony P. Capozzi, hereby requests that the Character
19
     Letters be attached to the Presentence Report and filed under
20
     seal with copies of said letters being served upon the United
21
     States Attorney and the Probation Department.
22
         This request is made pursuant to Local Rule 141(a) which
23
     states that presentence reports are confidential records of
24
     the United States District Court.             Under the Local Rule the
25
     reports   are   only    to    be   disclosed      to   the    court,       court
26
     personnel, the defendant, the defendant’s counsel, the defense
27
     investigator, and the United States Attorney’s office.                      Only
28

                                          - 1 -
           Request to Seal Character Letters and Attach to Presentence Report
                               CASE NO.: 1:10-CR-00287-AWI
        Case 1:10-cr-00287-AWI Document 155 Filed 02/21/13 Page 2 of 3


 1   these people or parties should have access to the Character
 2   Letters.
 3       The    contents      of    the    Presentence       Report      sets   out
 4   confidential and sensitive information that is subject to the
 5   Defendant’s privacy rights.
 6       The Character Letters are from the following individuals:
 7              a. Madeline Perez,
 8              b. Marcos Perez,
 9              c. Elva Leticia Mercado,
10              d. Elizabeth Moreno,
11              e. Jessica Mercado,
12              f. Mayra Alejandra Mercado,
13              g. Angelica Avila,
14              h. Miranda Avila, and
15              i. Jose Avila.
16    The total number of pages is eleven(11).
17       Accordingly, it is requested that the Character Letters be
18   attached to the Presentence Report and be Sealed with copies
19   served electronically upon the United States Attorney and the
20   Probation Department.
21

22

23                                           Respectfully submitted,
24   DATED: February 19, 2013
25                                           /s/ Anthony P. Capozzi
26                                           Anthony P. Capozzi
                                             Attorney for,
27                                           FERNANDO AVILA
28

                                          - 2 -
           Request to Seal Character Letters and Attach to Presentence Report
                               CASE NO.: 1:10-CR-00287-AWI
          Case 1:10-cr-00287-AWI Document 155 Filed 02/21/13 Page 3 of 3


 1                                        ORDER
 2

 3         For reasons set forth above, the defendants request to
 4   have Character Letters attached to the Presentence Report and
 5   filed Under Seal is granted.
 6

 7

 8
     IT IS SO ORDERED.
 9

10   Dated: February 20, 2013
                                        SENIOR DISTRICT JUDGE
11
                                               DEAC_Signature-END:




12                                             0m8i788

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                                            - 3 -
             Request to Seal Character Letters and Attach to Presentence Report
                                 CASE NO.: 1:10-CR-00287-AWI
